                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF MISSOURI
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                      )
                                               )
        Plaintiff,                             )
                                               )
        v.                                     )          No. 4:21-CR-00080-DGK
                                               )
CORTEZ L. WILLIAMS,                            )
                                               )
        Defendant.                             )

  ORDER ADOPTING THE MAGISTRATE’S REPORT AND RECOMMENDATION
            DENYING DEFENDANT’S MOTION TO SUPPRESS

        Pending before the Court is Defendant Cortez L. Williams’s Motion to Suppress

Statements, ECF No. 26, and United States Magistrate Judge Jill A. Morris’s Report and

Recommendation, ECF No. 37, recommending the Court deny the motion.

        After reviewing the report and conducting an independent review of the applicable law

and record, see L.R. 74.1, the Court agrees with the Magistrate’s thorough and well-reasoned

opinion holding that Defendant’s Miranda waiver was voluntary, knowing, intelligent, and valid.

        The Court ADOPTS the Report and Recommendation and DENIES the motion.

        IT IS SO ORDERED.

Date:   April 20, 2022                              /s/ Greg Kays
                                                   GREG KAYS, JUDGE
                                                   UNITED STATES DISTRICT COURT




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